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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

 WILLIE MUNN                                                                          PLAINTIFF

 v.                                  Case No. 4:22-cv-04120

 HEMPSTEAD COUNTY                                                                  DEFENDANT



                                             ORDER

       Before the Court is the Report and Recommendation filed on January 25, 2023, by the

Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

ECF No. 4.

       Judge Bryant recommends denying Plaintiff’s Petition for Writ of Habeas Corpus (ECF

No. 1). Plaintiff has not objected, and the time for doing so has passed. See 28 U.S.C. § 636(b)(1).

Being well and sufficiently advised, and finding no clear error on the face of the record, the Court

adopts the Report and Recommendation in toto. Accordingly, Plaintiff’s Petition (ECF No. 1) is

hereby DENIED.

       IT IS SO ORDERED, this 3rd day of March, 2023.

                                                             /s/ Susan O. Hickey
                                                             Susan O. Hickey
                                                             Chief United States District Judge
